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                                              #:4583


1     Marc Wolstenholme
      5 Shetland Close
2
      Coventry, England CV5 7LS
3     Telephone: 044 7827964404
      Email: marc@mwwolf-fiction.co.uk
4     Plaintiff in Pro Per
5                                   UNITED STATES DISTRICT COURT
6
                                   CENTRAL DISTRICT OF CALIFORNIA
7

8

9     MARC WOLSTENHOLME,                             CASE NO. 2:25-CV-00053-FMO-BFM HON.
                Plaintiff,
10    vs.                                            Hon. Fernando M. Olguin
      RIOT GAMES, INC.,
11              Defendant                            DECLARATION OF MARC
12                                                   WOLSTENHOLME

13                                                   NOTICE OF LODGING EXHIBITS D–H IN
                                                     SUPPORT OF PLAINTIFF'S
14                                                   COMPREHENSIVE ACCESS,
                                                     DISSEMINATION, AND
15
                                                     MISAPPROPRIATION ARGUMENT
16

17
      Dated this: April 28, 2025
18

19                                                [MARC WOLSTENHOLME]
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         NOTICE OF LODGING EXHIBITS D–H IN SUPPORT OF PLAINTIFF'S COMPREHENSIVE ACCESS,
28                         DISSEMINATION, AND MISAPPROPRIATION ARGUMENT
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1                    NOTICE OF LODGING EXHIBITS D–G
2
                     TO THE COURT, ALL PARTIES, AND THEIR COUNSEL OF RECORD:
3
                     Plaintiff hereby gives notice of lodging Exhibits D, E, F, and G in support of
4
      Plaintiff’s Comprehensive Access, Dissemination, and Misappropriation Argument already filed
5

6     with the Court.

7                    These exhibits are as follows:
8
                     Exhibit D: Riot Games API Terms and Conditions
9
                     (Submitted to demonstrate Riot’s terms of access, control over submitted content,
10
      and developer rights to use and modify player-submitted materials.)
11

12                   Exhibit E: Riot Games Developer Portal Documentation

13                   (Submitted to show Riot’s structure for approving, monitoring, and controlling
14
      player-created projects, evidencing Riot’s intentional dissemination and use framework.)
15
                     Exhibit F: Riot Games Privacy Notice (as last modified March 27, 2025)
16
                     (Submitted to illustrate Riot’s global data collection, retention, and sharing
17

18    practices, particularly relating to player interactions and contributions.)

19                   Exhibit G: Additional Riot Developer Portal Submission Process (with
20
      Attachment Upload Section)
21
                     Exhibit H: Proof of Riot Forge Accepting Public Submissions (2023)
22

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         NOTICE OF LODGING EXHIBITS D–H IN SUPPORT OF PLAINTIFF'S COMPREHENSIVE ACCESS,
28                          DISSEMINATION, AND MISAPPROPRIATION ARGUMENT
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1                    (Submitted to further evidence Riot’s multiple structured methods for soliciting,
2
      receiving, and controlling player and external developers’ submissions, including systems
3
      designed to upload attachments and integrated materials.)
4

5

6                    Exhibits A, B, and C have already been attached to Plaintiff’s prior filing in

7     support of Plaintiff’s Access Argument.
8

9
                     Plaintiff respectfully submits Exhibits D–G to further assist the Court’s
10
      consideration of Riot’s access to user-generated materials, its solicitation and management of
11

12    submissions, and its internal policies and practices concerning third-party content.

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         NOTICE OF LODGING EXHIBITS D–H IN SUPPORT OF PLAINTIFF'S COMPREHENSIVE ACCESS,
28                         DISSEMINATION, AND MISAPPROPRIATION ARGUMENT
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                                                 #:4586


1                     INTRODUCTION
2
                      Plaintiff respectfully submits this brief introduction to accompany the lodging of
3
      Exhibits D–G.
4
                      Plaintiff sincerely apologizes to the Court and to opposing counsel for the volume
5

6     of filings submitted to date. Plaintiff is self-represented and learning how to litigate under

7     difficult, aggressive and manipulated circumstances. Plaintiff’s intent is not to burden the Court
8
      but to preserve essential rights and to provide a full, fair record for consideration.
9
                      Throughout this case, Plaintiff has faced aggressive and improper tactics from
10
      Defendant Riot Games and associated individuals. These tactics include direct and indirect
11

12    threats, harassment, and manipulative behavior, much of it mirroring language and criticisms

13    expressed by the Settlement Judge (e.g., that filings are "only a bunch of stricken documents"
14
      and that "access isn't good enough”).
15
                      Plaintiff also received a hostile external message, attached:
16
                      “Form Submission - Welcome To The Wolf Pack
17

18                    From: strikingdocuments@gmkil.com

19                    Message:
20
                      "21 one
21
                      21 stricken documents IN FOUR MONTHS
22
                      Any sane person would realize how fucking insane that is
23

24                    Anyone except you apparently."

25

26

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                                                        4
         NOTICE OF LODGING EXHIBITS D–H IN SUPPORT OF PLAINTIFF'S COMPREHENSIVE ACCESS,
28                          DISSEMINATION, AND MISAPPROPRIATION ARGUMENT
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1                    Plaintiff submits this message not to trouble the Court, but to demonstrate the
2
      intimidating environment surrounding this litigation.
3
                     Despite this, Plaintiff has persisted, because this case is important personally and
4
      professionally. Plaintiff only asks that the matter be judged on its merits and that bullying tactics
5

6     by a better-resourced defendant not be allowed to influence the outcome.

7

8
                     Regarding Access:
9
                     Plaintiff believes access has been clearly established through at least three
10
      independent and well-supported routes: Wide Dissemination, CBG & UTAs submission and
11

12    deep involvement in Arcane, and Submissions to Riot Forge.

13

14
                     Widespread Public Dissemination: The materials at issue were widely
15
      disseminated through open channels, including public-facing Riot Games submission portals and
16
      Riot Forge initiatives. These materials were accessible without authentication requirements.
17

18

19                   Extensive Submissions to Agents and Agencies: Over 100 separate submissions
20
      were made to major talent agencies and individual agents. Many of these agents maintain strong,
21
      ongoing commercial relationships with Netflix, Riot Games, and the broader entertainment
22
      industry. This broad dissemination created a strong mosaic of exposure, making it highly
23

24    probable that key decision-makers had access to Plaintiff’s work.

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         NOTICE OF LODGING EXHIBITS D–H IN SUPPORT OF PLAINTIFF'S COMPREHENSIVE ACCESS,
28                          DISSEMINATION, AND MISAPPROPRIATION ARGUMENT
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                                                 #:4588


1                    Close Ties Between Talent Agencies and Riot's Arcane Project:
2
                     Plaintiff has also demonstrated that United Talent Agency (UTA), Curtis Brown
3
      Group (CBG), and other talent agencies with access to the Plaintiff’s material maintained
4
      significant client relationships with the writers, producers, and executives responsible for
5

6     developing Arcane. The commercial and personnel overlaps further strengthen the inference of

7     access.
8
                     Riot Forge: Direct submission avenues through Riot’s Developer Portal,
9
      including without required authentication. Standard acceptance policies governing Riot Forge
10
      and user submissions. Public archive availability via third-party sites like the Wayback Machine.
11

12                   Plaintiff has serious concerns that Riot Games is using the Wayback Machine

13    improperly — selectively referencing archival material while simultaneously withholding key
14
      internal records, such as internal server logs for Riot Forge and communications evidencing the
15
      manipulation of public submission channels through talent agencies and other intermediaries.
16

17

18                   Regarding Additional Evidence:

19                   Plaintiff also possesses further evidence that Riot Forge was openly accessible to
20
      the public, without any login or authentication barriers. However, Plaintiff reserves the right to
21
      present that evidence at a later stage in these proceedings, should it become necessary.
22

23

24                   Plaintiff respectfully commits to presenting future arguments as clearly,

25    concisely, and efficiently as possible to assist the Court in reaching a just resolution.
26

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         NOTICE OF LODGING EXHIBITS D–H IN SUPPORT OF PLAINTIFF'S COMPREHENSIVE ACCESS,
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                                                  #:4589


1                     EXHIBIT D- Riot Games API Terms and Conditions Summary (Effective
2
      December 9, 2013)
3
                      The Riot Games API Terms govern the way users (developers, players, and
4
      others) interact with and submit data through Riot's developer and game platforms. They were
5

6     effective as of December 9, 2013, and remain a binding framework for Riot's handling of user

7     submissions.
8
                      Key Provisions Relevant to Submission Practices
9
       Topic                 Relevant Policy                           Impact for Plaintiff
10             User-Provided Riot collects, stores, modifies,    Demonstrates Riot retained
                     Content and uses all submitted material,    full submissions in their
11                           including "Game Information"        systems without clear
                             and any user-uploaded content.      restrictions or limits.
12

13         No Word Count Riot's API terms do not impose a        Counters Riot’s later claim at
                   Limits character or word limit on user-       settlement conference that
14                        submitted material.                    Plaintiff could only submit
                                                                 "150 words."
15        Modification and Riot explicitly claims rights to      Reinforces that full-length
           Derivative Use modify, adapt, and create              submissions like Plaintiff's
16                         derivatives from submitted            could have been internally
                           content.                              processed, stored, or altered.
17        No Guarantee of Riot disclaims all warranties          Undermines Riot’s use of
           Data Accuracy about the accuracy, completeness,       Wayback Machine screenshots
18
                           or currency of stored content.        as definitive evidence at
19                                                               settlement conference.
        Right to Retain and Riot asserts full ownership over     Further supports the argument
20          Commercialize user-submitted data for                that Riot had access and
               Submissions commercial exploitation.              internal use of Plaintiff’s
21                                                               manuscript after submission.
          Developer Portal Riot allows developers to upload      Aligns with Plaintiff’s
22        and Submissions significant content, subject to its    assertion that he uploaded a
23
                           Terms and API governance.             full manuscript into Riot’s
                                                                 systems.
24

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         NOTICE OF LODGING EXHIBITS D–H IN SUPPORT OF PLAINTIFF'S COMPREHENSIVE ACCESS,
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                                                   #:4590


1                    Additional Critical Terms
2
                     •      General Data Protection Regulation (GDPR) Compliance: Riot
3
      acknowledges and processes data globally, implying large-scale storage and retrieval.
4
                     •      Unilateral Termination: Riot can modify terms or terminate access at its
5

6     discretion.

7                    •      Limitation of Liability: Riot disclaims liability for content manipulation,
8
      destruction, or unauthorized access.
9

10
                     Conclusion
11

12                   These API Terms reinforce that:

13                   •      Riot permitted substantial submissions via their portals.
14
                     •      Riot never publicly stated a 150-word limit.
15
                     •      Riot reserved rights to hold, modify, and use submitted materials freely.
16
                     Thus, Riot’s assertions regarding limited access, submission size, or technical
17

18    impossibility during the Settlement Conference are factually undermined by their own governing

19    policies.
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         NOTICE OF LODGING EXHIBITS D–H IN SUPPORT OF PLAINTIFF'S COMPREHENSIVE ACCESS,
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1                    EXHIBIT E- Riot Games Developer Portal Documentation
2
                     E1:
3
                     Copy of “Developer Portal Overview” from Riot Games Support Center (captured
4
      and retrieved from https://support-developer.riotgames.com/hc/en-us/articles/22698431229203-
5

6     Developer-Portal-Overview).

7

8
                     Purpose:
9
                     Demonstrates Riot Games’ policy and instructions for broad developer access to
10
      its services and APIs without prior limitation, showcasing Riot’s invitation for third-party
11

12    engagement and the relative openness of their game development ecosystem.

13

14
                     E2:
15
                     Copy of “Developer Portal Documentation” from Riot’s official Developer Site
16
      (captured from https://developer.riotgames.com/docs/portal#_getting-started).
17

18

19                   Purpose:
20
                     Confirms that Riot offered public access, without login or commercial screening,
21
      to key technical resources and submission opportunities for new projects, thus supporting the
22
      argument that Plaintiff and other developers could access, review, and submit without
23

24    gatekeeping at the time relevant to the litigation.

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         NOTICE OF LODGING EXHIBITS D–H IN SUPPORT OF PLAINTIFF'S COMPREHENSIVE ACCESS,
28                          DISSEMINATION, AND MISAPPROPRIATION ARGUMENT
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                                                ID #:4592


1                    EXHIBIT F — Riot Games Privacy Notice (March 27, 2025)
2
                     Plaintiff hereby lodges Exhibit F, a true and correct copy of the Riot Games
3
      Privacy Notice, effective March 27, 2025, in support of the arguments concerning access,
4
      handling of user-submitted content, and procedural fairness.
5

6

7                    The Privacy Notice is highly relevant because it:
8

9
                     Confirms Riot Games collects, stores, and internally shares user-submitted
10
      content, including developer submissions, communications, and materials sent through their
11

12    services, without limitation as to size or scope.

13

14
                     Establishes Riot’s claimed rights to analyze, monitor, and use submissions,
15
      communications, gameplay, and other user-generated content across its services, including
16
      through automated and manual means.
17

18

19                   Demonstrates that by participating in Riot Forge, the Developer Portal, or any
20
      related service, submitters' material could be accessed, reviewed, recorded, archived, and
21
      potentially commercially exploited under Riot’s terms, without individualized notice or consent
22
      beyond their published policies.
23

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         NOTICE OF LODGING EXHIBITS D–H IN SUPPORT OF PLAINTIFF'S COMPREHENSIVE ACCESS,
28                          DISSEMINATION, AND MISAPPROPRIATION ARGUMENT
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                                               ID #:4593


1                    Supports Plaintiff’s position that Riot Games had actual access to Plaintiff’s work,
2
      and that such access was reasonably foreseeable based on Riot’s own public disclosures
3
      regarding information handling and data retention.
4

5

6                    Undermines any defense that Riot lacked procedural access to submitted material,

7     since the Privacy Notice makes clear Riot reserved the right to handle such materials broadly and
8
      without further action from the submitter.
9

10
                     Accordingly, Exhibit F directly supports the Plaintiff’s contentions regarding
11

12    access to materials, procedural fairness, and the lack of transparency or meaningful protection

13    for submitters engaging with Riot Forge and related programs.
14

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         NOTICE OF LODGING EXHIBITS D–H IN SUPPORT OF PLAINTIFF'S COMPREHENSIVE ACCESS,
28                         DISSEMINATION, AND MISAPPROPRIATION ARGUMENT
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                                               ID #:4594


1                    EXHIBIT G: Riot Games Submission Portal and Attachment Functionality
2

3
                     Description:
4
                     This exhibit consists of screenshots from Riot Games' "Support Ticket
5

6     Submission Portal," demonstrating two key points:

7

8
                     Open Submission Capability:
9
                     Users are allowed to submit full narrative articles or descriptions (long-form
10
      written material) in the Description field without any character limit. This shows that Riot
11

12    Games permitted detailed and lengthy external submissions through its public-facing portals.

13

14
                     Attachment Upload Feature:
15
                     The screenshots clearly show that Riot’s portal contains an Attachments section
16
      allowing users to add files, including PDFs or other documents, to their submissions.
17

18                   This confirms that Riot Games provided a mechanism for external users to upload

19    supporting documents directly into its systems.
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         NOTICE OF LODGING EXHIBITS D–H IN SUPPORT OF PLAINTIFF'S COMPREHENSIVE ACCESS,
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1                    These facts directly rebut Riot's, its cult of hate mailers and the Settlement
2
      Judge’s prior claims that:
3

4
                     External submissions of written works were “impossible” or not permitted; and
5

6                    Uploading attachments through the portal was not allowed.

7

8
                     Thus, Riot’s open portals, combined with the ability to upload substantial external
9
      works, show that the Plaintiff’s claims regarding access, use, and submission channels are well-
10
      founded and supported by Riot’s own systems.
11

12

13                   Purpose:
14
                     This Exhibit G is submitted to demonstrate Riot’s systemic openness to external
15
      written material and file uploads, supporting the argument that Plaintiff’s works could
16
      reasonably have been accessed, viewed, and misappropriated by Riot through its standard
17

18    practices and public submission systems.

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         NOTICE OF LODGING EXHIBITS D–H IN SUPPORT OF PLAINTIFF'S COMPREHENSIVE ACCESS,
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                                        ID #:4596


1                Exhibit G Screenshots
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        NOTICE OF LODGING EXHIBITS D–H IN SUPPORT OF PLAINTIFF'S COMPREHENSIVE ACCESS,
28                     DISSEMINATION, AND MISAPPROPRIATION ARGUMENT
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        NOTICE OF LODGING EXHIBITS D–H IN SUPPORT OF PLAINTIFF'S COMPREHENSIVE ACCESS,
28                     DISSEMINATION, AND MISAPPROPRIATION ARGUMENT
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                                                ID #:4598


1                    EXHIBIT H – Proof of Riot Forge Accepting Public Submissions (2023)
2
                     Plaintiff respectfully lodges as Exhibit H an authenticated email from Riot Forge
3
      Support, dated June 21, 2023, confirming Riot Forge’s receipt of a Plaintiff submission through
4
      its public support portal.
5

6

7                    Summary of Evidence:
8
                     On June 21, 2023, Plaintiff submitted content (an article) and a message via Riot
9
      Forge’s public-facing portal at support-riotforge.riotgames.com.
10

11

12                   Riot Forge immediately generated a formal ticket (#88552815), acknowledging

13    receipt and providing Plaintiff a direct link to the submitted material.
14

15
                     This communication demonstrates Riot Forge was actively accepting unsolicited
16
      public submissions via its support portal well into 2023.
17

18

19                   Purpose and Relevance:
20
                     Directly contradicts assertions made by Riot Games, its counsel, and statements
21
      attributed to the Settlement Judge that Riot Forge could not or would not accept outside
22
      submissions.
23

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         NOTICE OF LODGING EXHIBITS D–H IN SUPPORT OF PLAINTIFF'S COMPREHENSIVE ACCESS,
28                          DISSEMINATION, AND MISAPPROPRIATION ARGUMENT
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                                                ID #:4599


1                    Supports Plaintiff’s Access Argument by showing that Plaintiff’s work could be
2
      — and plausibly was — accessed by Riot through open channels.
3

4
                     Shows that Riot Games is either misrepresenting the existence of submission
5

6     avenues or failed to preserve evidence and disclose responsive documents and hindering

7     discovery.
8
                     Illustrates that Plaintiff deliberately withheld this proof until now to allow Riot’s
9
      representations to the Court to crystallize.
10

11

12                   Plaintiff’s Reservation:

13                   Plaintiff respectfully notes that he originally intended to present this evidence
14
      later, to rebut Riot’s discovery conduct more forcefully.
15

16
                     However, given Riot’s affirmative misrepresentations and the Settlement Judge’s
17

18    apparent reliance on false claims regarding Forge access, Plaintiff now submits this evidence

19    immediately to correct the record and prevent further prejudice.
20

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         NOTICE OF LODGING EXHIBITS D–H IN SUPPORT OF PLAINTIFF'S COMPREHENSIVE ACCESS,
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                                               ID #:4600


1                     Attached Document:
2
                      Screenshot of Riot Forge Support confirmation email titled "[Riot Games Player
3
      Support]" dated June 21, 2023, confirming ticket submission with longform content without
4
      login credentials.
5

6

7                     “[Riot Games Player Support]
8
                      Riot Forge Support Site
9
                      From:
10
                      support@support-riotforge.zendesk.com
11

12                    To:

13                    Marc Wolstenholme
14
                      Wed, 21 Jun 2023 at 21:13
15
                      ##- Please type your reply above this line -##
16
                      Thanks for contacting our Player Support Team! We received your request
17

18    (#88552815) .

19                    Looks like a response will take a little longer than normal due to a high volume of
20
      requests, sit tight and one of our specialists will answer you as soon as they can. Try not to bump
21
      your ticket unless you have additional information that we could use to help you since bumping
22
      your ticket repeatedly will increase your wait time.
23

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         NOTICE OF LODGING EXHIBITS D–H IN SUPPORT OF PLAINTIFF'S COMPREHENSIVE ACCESS,
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                                                ID #:4601


1                    If you were logged in to the support site when creating your ticket you can use the
2
      following link below to be taken directly to it:
3
                     http://support-riotforge.riotgames.com/hc/requests/88552815
4
                     This email is a service from Riot Games - Riot Forge . Sent by Riot Games.
5

6                    [2K11WG-JDNVR]”

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         NOTICE OF LODGING EXHIBITS D–H IN SUPPORT OF PLAINTIFF'S COMPREHENSIVE ACCESS,
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                                        ID #:4602


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        NOTICE OF LODGING EXHIBITS D–H IN SUPPORT OF PLAINTIFF'S COMPREHENSIVE ACCESS,
28                     DISSEMINATION, AND MISAPPROPRIATION ARGUMENT
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1                    LITIGATION CITATIONS IN SUPPORT
2
                     In further support of Plaintiff’s submission of Exhibits D–H, the following legal
3
      principles and authorities are respectfully cited:
4

5

6                    Federal Rule of Evidence 401 (Relevance):

7                    Evidence is relevant if (a) it has any tendency to make a fact more or less
8
      probable than it would be without the evidence, and (b) the fact is of consequence in determining
9
      the action.
10
                     The open submission portals at Riot Forge, along with acceptance of attachments
11

12    and longform content, are highly relevant to the issues of access and opportunity.

13

14
                     Federal Rule of Evidence 402 (Admissibility of Relevant Evidence):
15
                     Relevant evidence is admissible unless otherwise excluded.
16
                     The information regarding Riot Forge’s acceptance of unsolicited submissions is
17

18    thus properly before the Court.

19

20
                     Federal Rule of Evidence 403 (Excluding Relevant Evidence for Prejudice,
21
      Confusion, Waste of Time, or Other Reasons):
22
                     While courts may exclude evidence for unfair prejudice or confusion, the Exhibits
23

24    here directly rebut factual misrepresentations made by Riot Games to the Court and Settlement

25    Judge, making them highly probative and not unduly prejudicial.
26

27
                                                       21
         NOTICE OF LODGING EXHIBITS D–H IN SUPPORT OF PLAINTIFF'S COMPREHENSIVE ACCESS,
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1                     Federal Rule of Civil Procedure 26(e) (Duty to Supplement):
2
                      A party who has made a disclosure under Rule 26(a) or responded to a discovery
3
      request must supplement or correct its disclosure or response if the party learns that it is
4
      incomplete or incorrect.
5

6                     Riot’s failure to disclose the existence of accessible Riot Forge submission routes

7     constitutes a violation of this duty.
8
                      Federal Rule of Civil Procedure 37(c)(1) (Sanctions for Failure to Disclose):
9
                      A party that fails to provide information or identify a witness as required by Rule
10
      26(a) or (e) may be prohibited from using that information at trial unless the failure was
11

12    substantially justified or harmless.

13                    Chambers v. NASCO, Inc., 501 U.S. 32 (1991):
14
                      The Court has the inherent power to sanction parties for bad-faith conduct,
15
      including the presentation of false or misleading evidence during settlement proceedings or to
16
      the Court.
17

18                    Foman v. Davis, 371 U.S. 178 (1962):

19                    Courts favor adjudication on the merits rather than through procedural evasion or
20
      misconduct.
21
                      Plaintiff respectfully submits that under these authorities, Exhibits D–H are
22
      properly lodged, and that Riot’s false or misleading representations regarding the availability of
23

24    Riot Forge submissions warrant serious judicial consideration.

25

26

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                                                      22
         NOTICE OF LODGING EXHIBITS D–H IN SUPPORT OF PLAINTIFF'S COMPREHENSIVE ACCESS,
28                          DISSEMINATION, AND MISAPPROPRIATION ARGUMENT
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                                               ID #:4605


1                    Notice of Misconduct
2
                     Plaintiff respectfully submits that recent evidence (Exhibits D–H) definitively
3
      demonstrates that Riot Forge was, in fact, capable of receiving unsolicited long-form
4
      submissions, including attachments, without login credentials, during the relevant period.
5

6     Plaintiff further notes that during prior settlement discussions and court proceedings, Defendant

7     Riot Games, through its counsel, represented to the Court that such submissions were impossible
8
      or otherwise inaccessible and ambushed the Plaintiff with falsified evidence — a claim now
9
      proven to be materially false.
10

11

12                   Such misrepresentations, whether intentional or reckless, undermine the integrity

13    of these proceedings and raise serious concerns under the duties of candor owed to this Court
14
      pursuant to Rule 3.3 of the Model Rules of Professional Conduct and Federal Rule of Civil
15
      Procedure 11. Moreover, Defendant's submission of misleading or incomplete evidence during
16
      settlement discussions appears to constitute bad faith conduct, warranting consideration of the
17

18    Court's inherent authority to address abusive litigation practices, as recognized in Chambers v.

19    NASCO, Inc., 501 U.S. 32 (1991).
20

21
                     Plaintiff respectfully reserves all rights to seek appropriate remedies and
22
      sanctions, and further requests that the Court consider the full evidentiary record now before it in
23

24    assessing Defendant's access, dissemination, and misappropriation of Plaintiff’s work.

25

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                                                      23
         NOTICE OF LODGING EXHIBITS D–H IN SUPPORT OF PLAINTIFF'S COMPREHENSIVE ACCESS,
28                         DISSEMINATION, AND MISAPPROPRIATION ARGUMENT
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                                               ID #:4606


1                    Conclusion to Exhibits D–H
2
                     The evidence provided in Exhibits D through H demonstrates definitive proof that
3
      Riot Forge was actively accepting unsolicited longform content during the relevant period.
4
                     Attachments were permitted.
5

6

7                    Full-length articles and manuscripts could be submitted.
8

9
                     No login credentials or special authorization were required to use the portal.
10

11

12                   Further, the Plaintiff personally tested the Riot Forge submission system in 2023

13    and independently confirmed that unsolicited submissions remained possible, directly
14
      contradicting the representations made by Riot Games and its counsel to the Court and to the
15
      Settlement Judge.
16

17

18                   Riot’s prior submission, offered during settlement discussions, falsely claimed

19    that Riot Forge could not accept external submissions. This record establishes that such claims
20
      were either knowingly false or recklessly misleading, constituting further evidence of an
21
      intentional effort to circumvent judicial scrutiny and deceive both the Court and the Settlement
22
      Judge. How can Riot be trusted to produce discovery with such a strong and relentless track
23

24    record of lies and abuse of evidence and court procedures to abuse the Plaintiff and cause further

25    harm. They simply cannot, and justice will not be served unless interventions are placed on Riot.
26

27
                                                     24
         NOTICE OF LODGING EXHIBITS D–H IN SUPPORT OF PLAINTIFF'S COMPREHENSIVE ACCESS,
28                         DISSEMINATION, AND MISAPPROPRIATION ARGUMENT
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                                                 ID #:4607


1                    Moreover, the Plaintiff respectfully submits that Riot’s presentation of incomplete
2
      and misleading evidence during a judicially supervised settlement conference — particularly in
3
      an attempt to minimize clear routes of access — reflects a bad faith attempt to deflect attention
4
      from the strongest and most direct access channels: the wide dissemination of Plaintiff’s work to
5

6     Curtis Brown Group (CBG) and United Talent Agency (UTA) who clearly had a monopoly over

7     development int terms of “Writing”, manuscripts and talent casted.
8

9
                     Plaintiff believes that these corporate connections, which directly link to Arcane’s
10
      key creative team, provide an overwhelming and credible basis for access, further reinforced by
11

12    the substantial threats, intimidation, and attempts to undermine Plaintiff’s rightful claims

13    throughout these proceedings.
14

15
                     Plaintiff believes key players such as Jonny Geller and Felicity Blunt from CBG
16
      and others from UTA are being protected via refusal to produce evidence in discovery.
17

18    Moreover, the Plaintiff has shown that Riot will not be honest in discovery, and it is in the public

19    interest and safety for the state or federal law enforcement to take control of their servers for
20
      forensic investigations before more damage is done to the Plaintiff, the State, the court’s
21
      reputation, disadvantaged competitors, vulnerable people, careers, U.S. entertainment economics
22
      and even public safety and security.
23

24

25

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                                                      25
         NOTICE OF LODGING EXHIBITS D–H IN SUPPORT OF PLAINTIFF'S COMPREHENSIVE ACCESS,
28                          DISSEMINATION, AND MISAPPROPRIATION ARGUMENT
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                                                ID #:4608


1                    Declaration of Authenticity:
2
                     I, Marc Wolstenholme, declare under penalty of perjury that the statements made
3
      are true and accurate
4

5

6                    Executed on April 28, 2025, in Coventry, England.

7                    Respectfully submitted,
8
                     Signature:
9

10
                     Marc Wolstenholme
11

12                   Plaintiff in Pro Per

13                   5 Shetland Close
14
                     Coventry, England CV5 7LS
15
                     marc@mwwolf-fiction.co.uk
16

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                                                    26
         NOTICE OF LODGING EXHIBITS D–H IN SUPPORT OF PLAINTIFF'S COMPREHENSIVE ACCESS,
28                            DISSEMINATION, AND MISAPPROPRIATION ARGUMENT
